The defect which is pointed out would be fatal upon a motion in arrest of judgment; and though it is true, as has been argued, that the Court has a discretion to quash or not, still it will quash where it is plain no judgment could be given in case of a conviction. Therefore, let this indictment be quashed; but the defendant shall not be discharged, but must be bound over to another term to answer the charge.
NOTE. — On the subject of quashing indictments, see S. v.Jeffreys, 1 N.C. 528; S. v. Fellows, ante, 340; S. v. Smith, 5 N.C. 213;S. v. Baldwin, 18 N.C. 195; S. v. Roberts, 19 N.C.; S. v. Buchanan, 23 N.C.
Cited: S. v. Benthall, 82 N.C. 667; S. v. Harwell, 129 N.C. 552.